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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

CARLTON SMITH,

      Plaintiffs,                                       Case No. 17-cv-12499
                                                        Hon. Matthew F. Leitman
v.

NATIONWIDE COLLECTION AGENCIES, INC.
d/b/a/ MONEY RECOVERY NATIONWIDE,

     Defendants.
__________________________________________________________________/

      STIPULATION TO DISMISS CASE AGAINST DEFENDANT
     NATIONWIDE COLLECTION AGENCIES, INC. D/B/A MONEY
               RECOVERY NATIONWIDE, ONLY
        WITH PREJUDICE AND WITHOUT FEES OR COSTS

      The parties, as evidenced by the signatures of their respective counsel below,

stipulate to the dismissal of Plaintiff’s claims against Defendant Nationwide

Collection Agencies, Inc. d/b/a Money Recovery Nationwide, only, with prejudice

and without attorney’s fees or costs to either party.


                                               /s/ Gary Nitzkin
                                               Gary D. Nitzkin (P41155)
                                               Attorney for Plaintiff
                                               22142 West Nine Mile Road
                                               Southfield, Michigan 48034
                                               (248) 353-2882
                                               gary@crlam.com
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                                        Agencies
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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

CARLTON SMITH,

      Plaintiffs,                                  Case No. 17-cv-12499
                                                   Hon. Matthew F. Leitman
v.

NATIONWIDE COLLECTION AGENCIES, INC.
d/b/a/ MONEY RECOVERY NATIONWIDE,

     Defendants.
__________________________________________________________________/

ORDER OF DISMISSAL WITH PREJUDICE AND WITHOUT FEES OR
COSTS AS TO DEFENDANT NATIONWIDE COLLECTION AGENCIES,
      INC. D/B/A MONEY RECOVERY NATIONWIDE, ONLY

      The Court, having reviewed the parties’ stipulation, and finding good cause

shown;

      IT IS HEREBY ORDERED that the within action against Defendant

Nationwide Collection Agencies, Inc. d/b/a Money Recovery Nationwide, only, is

hereby dismissed with prejudice and without fees or costs to either party. The Clerk

of the Court shall terminate Defendant Nationwide Collection Agencies, Inc. d/b/a

Money Recovery Nationwide as a party in this action and remove its attorneys of

record from receiving ECF Notifications.

                                      /s/Matthew F. Leitman
                                      MATTHEW F. LEITMAN
                                      UNITED STATES DISTRICT JUDGE
Dated: October 11, 2019
